                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
vs.                                            )   CASE NO. 3:09-00286
                                               )   JUDGE KEVIN H. SHARP
KELVIN DEMARIO MASON                           )


                                          ORDER

       Pending before the Court is Defendant’s Motion to Modify Conditions of Release (Docket

No. 70) to which the Government has responded (Docket No. 71).

       After reviewing the filings, the Motion is GRANTED in part. The Defendant will be allowed

to leave Diersen Charities from 8:00 a.m. to 8:00 p.m. on December 25, 2015.

       IT IS SO ORDERED.



                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




  Case 3:09-cr-00286       Document 72       Filed 12/23/15     Page 1 of 1 PageID #: 162
